        Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 1 of 15




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

GEORGE MANDALA and CHARLES BARNETT,                  Case No. 6:18-cv-06591-CJS
individually and on behalf of all others similarly
situated,

                     Plaintiffs,

              v.

NTT DATA, INC.,

                     Defendant.




                  DEFENDANT’S MEMORANDUM OF LAW
      IN FURTHER SUPPORT OF MOTION TO DISMISS THE CLASS ACTION
            COMPLAINT IN ITS ENTIRETY AND WITH PREJUDICE




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         Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 2 of 15


                                                TABLE OF CONTENTS

                                                                                                                                 PAGE


I.     PLAINTIFFS’ TITLE VII CLAIM SHOULD BE DISMISSED ...................................... 1

II.    PLAINTIFFS’ NY FCRA CLAIM SHOULD BE DISMISSED ...................................... 5

III.   MANDALA RECEIVED A COPY OF ARTICLE 23-A.................................................. 6

IV.    THE CLASS CLAIMS SHOULD BE STRIKEN ............................................................. 8

V.     THE CRIMINAL HISTORY DISCRIMINATION CLAIMS ARE TIME
       BARRED ........................................................................................................................... 8

VI.    PLAINTIFFS’ REQUEST FOR CERTAIN DAMAGES SHOULD BE
       DISMISSED ...................................................................................................................... 9




                                                                   i.
             Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 3 of 15




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Ashcroft v. Iqbal,
   556 U.S. 662 ..................................................................................................................1, 2, 3, 5

Barnett v. Cobb Cnty. Sch. Dist.,
   No. 15 Civ. 3561, 2017 WL 5203049 (N.D. Ga. Feb. 7, 2017).............................................1, 2

Brown v. Coach Stores, Inc.,
   163 F. 3d 706 (2d Cir. 1998)..................................................................................................4, 9

Constellation Brands, Inc. v. Keste, LLC,
   No. 14-cv-6272, 2014 U.S. Dist. LEXIS 159753 (W.D.N.Y. Nov. 13, 2014) ........................10

Dothard v. Rawlinson,
   433 U.S. 321 (1977) ...................................................................................................................4

EEOC v. Freeman,
  961 F. Supp. 2d 783 (D. Md. 2013) ...........................................................................................4

EEOC v. Joint Apprenticeship Comm’n of Joint Indus. Bd. of Elec. Indus.,
  164 F.3d 89 (2d Cir. 1998).........................................................................................................4

George v. Prof’l Disposables Int’l, Inc.,
   No. 15-cv-03385, 2016 U.S. Dist. LEXIS 72912 (S.D.N.Y. June 1, 2016) ..............................3

Globecon Group, LLC v. Hartford Fire Ins. Co.,
   434 F.3d 165 (2d Cir. 2006).....................................................................................................10

Hall v. Kodak Ret. Income Plan,
   07-Civ.-6196, 2009 WL 778102 (W.D.N.Y. Mar. 20, 2009) ....................................................6

Heskiaoff v. Sling Media, Inc.,
   719 Fed. Appx. 28 (2d Cir. Nov. 22, 2017) ...............................................................................6

Jennings v. City of Tuscaloosa,
   No. 13 Civ. 874, 2013 WL 5299304 (N.D. Ala. Sept. 19, 2013) ..............................................2

Kennedy v. Fed. Express Corp.,
   2016 WL 5415774 (N.D.N.Y. Sept. 28, 2016) ..........................................................................9

Long v. SEPTA,
   903 F.3d 312 (3rd Cir. 2018) .................................................................................................5, 6



                                                                    ii
             Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 4 of 15




Maddison v. Comfort Sys. USA (Syracuse),
  No. 5:17-CV-0359, 2018 U.S. Dist. LEXIS 16090 (N.D.N.Y. Feb. 1, 2018) ...........................8

McCain v. United States,
  2015 WL 1221257 (D. Vt. Mar. 17, 2015) ................................................................................2

Roach v. T.L. Cannon Corp.,
   No. 3:10-cv-0591, 2015 U.S. Dist. LEXIS 177286 (N.D.N.Y. Sept. 4, 2015) ..........................8

Smith v. Home Health Sol., Inc.,
   2018 WL 5281743 (D. Mass. Oct. 24, 2018).............................................................................2

Spokeo, Inc. v. Robins,
   136 S. Ct. 1540 (2016) ...............................................................................................................6

Strubel v. Comenity Bank,
    842 F. 3d 181 (2d Cir. 2016)......................................................................................................6

Swierkiewicz v. Sorema N.A.,
   534 U.S. 506 (2002) ...................................................................................................................3

Tyree v. GCA Servs. Grp., Inc.,
   No. 17-cv-328, 2018 U.S. Dist. LEXIS 4063 (W.D. Va. Jan. 9, 2018) .................................2, 9

Underwood v. Roswell Park Cancer Inst.,
   No. 15-cv-684, 2017 U.S. Dist. LEXIS 5689 (W.D.N.Y. Jan. 13, 2017) ........................6, 7, 10

Velarde v. GW GJ, Inc.,
   No. 14-cv-695S, 2016 U.S. Dist. LEXIS 159692 (W.D.N.Y. Nov. 16, 2016) ..........................7

Washington v. First Transit, Inc.,
  No. GJH-17-3747, 2018 U.S. Dist. LEXIS 128684 (D. Md. Aug. 1, 2018)..........................2, 4

Washington v. Steve,
  No. 13 Civ. 343, 2013 WL 6061988 (E.D. Wis. Nov. 18, 2013) ..........................................2, 9

Watson v. N.Y. Pressman’s Union No. 2,
   444 Fed. Appx. 500 (2d Cir. Dec. 13, 2011) .........................................................................1, 4

Williams v. Compassionate Care Hospice,
   2016 WL 4149987 (D.N.J. Aug. 3, 2016) .............................................................................2, 7

Williams v. Wells Fargo Bank, N.A.,
   2015 WL 13753220 (S.D. Iowa Aug. 6, 2015) ..........................................................................2

Statutes

42 U.S.C. § 2000e-2(k)(1)(A)(i) ......................................................................................................9


                                                                    iii
             Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 5 of 15




N.Y. Gen. Bus. L. § 380-g(d) ......................................................................................................5, 7

Other Authorities

Fed. R. Civ. P. 11 .............................................................................................................................3

Fed. R. Civ. P. 12(b)(6)..................................................................................................................10




                                                                       iv
         Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 6 of 15




I.      PLAINTIFFS’ TITLE VII CLAIM SHOULD BE DISMISSED.

        Plaintiffs argue that they can plead in conclusory fashion that NTT DATA has an

employment practice that causes “disparate impact,” cite to inapposite statistics, and then be

permitted to unlock the doors of discovery based on such allegations. If Plaintiffs’ position is

accepted, then any employer could be victim to a nationwide class action, and be forced to

expend hundreds of thousands of dollars defending against same, based on nothing more than a

single employee’s (or applicant’s) alleged experience and generic statistics. Fortunately, the law

requires more. Supreme Court binding authority mandates that Plaintiffs assert actual facts that

plausibly give rise to an entitlement to relief, and “more than a sheer possibility that a defendant

has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (emphasis added).

        According to the Second Circuit, in order to survive a motion to dismiss, the “basis for a

successful disparate impact claim involves a comparison between two groups—those affected

and those unaffected by the facially neutral policy. This comparison must reveal that although

neutral, the policy in question imposes a significantly adverse or disproportionate impact on a

protected group of individuals.” Watson v. N.Y. Pressman’s Union No. 2, 444 Fed. Appx. 500,

501 (2d Cir. Dec. 13, 2011) (affirming 12(b)(6) dismissal of disparate impact claim).

        Here, Plaintiffs fail to allege that any policy of NTT DATA imposes any significantly

adverse or disproportionate impact on a protected group. Instead, they allege only labels and

conclusions—and inapposite ones at that. Iqbal, 556 U.S. at 679. For example, Plaintiffs allege

that NTT DATA had a policy to deny job opportunities to individuals with felony convictions,

and then assert in conclusory fashion that this policy causes a “disparate impact.” Compl., ¶¶ 6,

33, 48, 52, 61, 110. Many courts recognize that such allegations are insufficient to survive a

motion to dismiss under Iqbal. For example:

    Barnett v. Cobb Cnty. Sch. Dist., No. 15 Civ. 3561, 2017 WL 5203049 (N.D. Ga. Feb. 7,
                                                 1
         Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 7 of 15




    2017): Employee failed to state disparate impact claim based on alleged policy not to hire
    individuals who have been arrested, because Plaintiff “fails to offer facts tending to show that
    the arrest policy as applied by Defendant has caused the exclusion of African American
    applicants because of their race.” Id. at *4 (emphasis added). While “Plaintiff generally
    alleges African Americans are arrested more often than other non-minority groups, Plaintiff
    does not allege statistics or any other facts tending to show the application of Defendant’s
    arrest policies has had a disproportionate impact on African Americans.” Id.

   Jennings v. City of Tuscaloosa, No. 13 Civ. 874, 2013 WL 5299304 (N.D. Ala. Sept. 19,
    2013): Allegation that “DUI policy as enforced has a disparate impact on African-
    Americans” was a “legal conclusion that must be stricken.” Id. at *3. Employee failed to
    state disparate impact claim based on alleged criminal history policy where complaint
    “provides no factual matter to allow an inference that the City’s DUI policy disparately
    impacts African Americans.” Id.

   Washington v. Steve, No. 13 Civ. 343, 2013 WL 6061988 (E.D. Wis. Nov. 18, 2013): Job
    applicant failed to state claim for disparate impact race discrimination based on company’s
    alleged criminal conviction policy where applicant did not allege “that members of his race
    were more often refused jobs on the basis of their race….” Id. at *2.

   Washington v. First Transit, Inc., No. GJH-17-3747, 2018 U.S. Dist. LEXIS 128684 (D. Md.
    Aug. 1, 2018): Amending complaint is futile where plaintiff “states in a conclusory fashion
    that Defendants’ background screening policy ‘caused disparate impact discrimination,’” and
    where plaintiff has not pled facts that minorities “make up a disproportionate number of the
    job applicants who are rejected under Defendants’ policy.” Id. at *9-11.

   Tyree v. GCA Servs. Grp., Inc., No. 17-cv-328, 2018 U.S. Dist. LEXIS 4063 (W.D. Va. Jan.
    9, 2018): Amended complaint fails to state a disparate impact claim where plaintiff “merely
    points to the EEOC’s guidance concerning the use of criminal records in the employment
    context” because the “sheer possibility that a defendant has acted unlawfully is insufficient to
    meet the plausibility standard set forth in Twombly and Iqbal.” Id. at *7-8. And, "[i]n the
    absence of any facts which plausibly suggest that [employer's] selection criteria imposed a
    substantially disproportionate burden upon African-Americans….the court concludes that
    [applicant's] disparate impact claim is subject to dismissal." Id. at *9.”1

       Plaintiffs argue they are not required to plead a prima facie case of discrimination, and


1
  Plaintiffs claim “Courts have repeatedly found similar or less robust allegations regarding the
discriminatory impact of a criminal records ban will survive a motion to dismiss.” Pl. Opp. at 8.
Plaintiffs’ cases are inapposite. Smith v. Home Health Sol., Inc., 2018 WL 5281743 (D. Mass.
Oct. 24, 2018), Williams v. Compassionate Care Hospice, 2016 WL 4149987 (D.N.J. Aug. 3,
2016), and McCain v. United States, 2015 WL 1221257 (D. Vt. Mar. 17, 2015) rely primarily on
the plaintiff’s citation to EEOC enforcement guidance. Reliance on such guidance/statistics is,
however, inconsistent with Second Circuit precedent, and irrelevant when applied to the facts as
alleged here. See infra at pp. 3-5. The other case, Williams v. Wells Fargo Bank, N.A., 2015 WL
13753220 (S.D. Iowa Aug. 6, 2015), is a one page decision with no analysis.
                                                 2
         Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 8 of 15




that NTT DATA “seeks to install a heightened pleading requirement” by requiring Plaintiffs to

plead statistics at this stage of the litigation. Dkt. 11 (“Pl. Opp.”), at 7-9. In support, Plaintiffs

cite inapposite cases that rely on pre-Iqbal pleading standards, including Swierkiewicz v. Sorema

N.A., 534 U.S. 506, 511 (2002). See George v. Prof’l Disposables Int’l, Inc., No. 15-cv-03385,

2016 U.S. Dist. LEXIS 72912, *16 (S.D.N.Y. June 1, 2016) (Swierkiewicz relies on pre-Iqbal

pleading standards, and in “the post-Iqbal world a discrimination plaintiff, like any other

plaintiff, must plead facts sufficient to render his claim ‘facially plausible’… the elements of a

prima facie case ‘provide an outline of what is necessary to render [employment discrimination]

claims for relief plausible’… courts properly consider those elements at the pleading stage….”).

       In any event, NTT DATA never contended that a plaintiff claiming disparate impact must

plead statistics in their Complaint. Defendant contends that, consistent with Iqbal, Plaintiffs

here must plead well pleaded facts to sufficiently support their conclusory allegations of

disparate impact. In addition, Defendant appropriately identifies the disconnect between the

purported “facts” alleged (the statistics that Plaintiffs do cite in their Complaint), and their

conclusory allegations.2 Indeed, as both Plaintiffs and the Second Circuit have acknowledged,

when “the plaintiff chose[s] to make [his] initial showing based on certain statistics,” a Court

may find “those statistics fail[] to support a plausible claim because plaintiff pled no ‘causal

connection’ between defendant’s policy and the [alleged] disparity.” Pl. Opp. at 11, n. 7.

       Here, Plaintiffs’ reliance on general statistics is inconsistent with Second Circuit law.

Indeed, the Second Circuit has rejected reliance on “general statistics,” “general reports of the

EEOC” and allegations “which contend only that there is a bottom line racial imbalance.”

2
  Plaintiffs argue that they could not provide statistics to support their disparate impact claim
because this information is in Defendant’s possession. This is irrelevant, because under Fed. R.
Civ. P. 11, Plaintiffs must have sufficient evidence before suit is filed, and certainly before
discovery commences.
                                                  3
         Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 9 of 15




Brown v. Coach Stores, Inc., 163 F. 3d 706, 712 (2d Cir. 1998); Watson, 444 Fed. Appx. at 501.

       In addition, the general population statistics are inapposite for at least three reasons.

First, although Plaintiffs challenge NTT DATA’s purported policy not to hire persons with

felonies, the cited statistics address “arrest and incarceration rates” for “crimes,” generally, and

do not address felony convictions. Compl., generally3; EEOC v. Freeman, 961 F. Supp. 2d 783,

798 (D. Md. 2013) (rejecting reliance on “general statistics” that “are not even considered under

Defendant’s hiring criteria, such as arrest and incarceration rates”).4 Second, Plaintiffs’ reliance

on national, general population statistics ignores their allegation that the labor pool only consists

of “qualified African American Applicants.” Compl., ¶¶ 2, 61. As the Freeman court recognized,

the general population pool “cannot be used as a surrogate for the class of qualified job

applicants, because it contains many persons who have not (and would not) be applying for a job

with Defendant.”     Id. at 798 (internal quotations and citations omitted).5        Third, general



3
  Despite Plaintiffs’ contention to the contrary, the EEOC Enforcement Guidance cites only dated
arrest and incarceration data, not felony conviction data. The Guidance also suggests regional or
local data may differ from national statistics. Finally, the Guidance is far from definitive proof
that any disparity exists from criminal conviction policies, generally, and certainly not under the
facts present here. Indeed, the Guidance states that a neutral policy to exclude applicants from
employment based on “certain” criminal conduct “may” disproportionately impact “some”
individuals protected under Title VII.
4
  Plaintiffs contort their allegations in light of Defendant’s challenges. For example, Plaintiffs
claim to challenge a policy that prohibits applicants with undefined “certain” criminal
convictions, not just felonies. This is completely divorced from the factual allegations in the
Complaint, where both Named Plaintiffs allege only that recruiters cited an alleged policy not to
hire applicants with felonies. Compl., ¶¶ 33, 48. Plaintiffs assert no facts to support that NTT
DATA had any policy to exclude applicants convicted of crimes other than felonies. Id..
5
  Plaintiffs’ cases demonstrate the folly of their argument that general population statistics
suffice. In Dothard v. Rawlinson, 433 U.S. 321, 330 (1977), the Court held that general
population statistics were appropriate where there was “no reason to suppose that” the statistics
cited differed from the relevant labor pool. Similarly, in EEOC v. Joint Apprenticeship Comm’n
of Joint Indus. Bd. of Elec. Indus., 164 F.3d 89, 97-98 (2d Cir. 1998), the Court found that
studies based on general population data were proper where the facially neutral requirement was
that an applicant be a high school graduate and/or be a certain age to qualify for the job, which
basic characteristics would also be reflected in general population statistics. This is not the case
                                                 4
        Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 10 of 15




population statistics have no connection to NTT DATA’s policy, making them further inapt and

far from factual support that NTT DATA’s policy causes any disparate impact. Again, to be

clear, the basis of Defendant’s motion is not that Plaintiffs must plead such statistics to survive a

motion to dismiss. Instead, Defendant’s motion is premised on the unassailable fact that, here,

Plaintiffs did attempt to plead such statistics to get them over the Iqbal threshold, and failed

miserably.

       Simply put, Plaintiffs have not alleged any facts supporting that any disparities are caused

by NTT DATA’s employment practices. Citing two employees differing experiences, EEOC

guidance and inapposite general population statistics is not enough.           Plaintiffs’ Title VII

disparate impact claim should be dismissed.

II.    PLAINTIFFS’ NY FCRA CLAIM SHOULD BE DISMISSED.

       Plaintiffs offer one meager retort to NTT DATA’s argument that they do not have Article

III standing to bring their NY FCRA claim: Mandala allegedly suffered a concrete harm because

failure to receive a copy of Article 23-A “diminished his opportunity to advocate for the job.”

Pl. Opp. at 14-16. Notably, this allegation is nowhere in the Complaint. See Compl., generally.

       Even if Mandala did make this allegation, there is nothing in Article 23-A that provides a

mechanism for plaintiff to “advocate for the job,” nor is this a right that N.Y. Gen. Bus. L. § 380-

g(d) was designed to protect. See N.Y. Corr. L. §§ 750-755. Instead, as Plaintiffs’ own papers

assert, § 380-g(d) was designed to “help ensure that employers and prospective employees are

informed about the mandates of Article 23-A of the correction law.” Pl. Opp. at 15; see also

Dkt. 11-3 (emphasis added). And, as this lawsuit demonstrates, Mandala was informed about the

mandates of Article 23-A, so much so that he elected to bring a federal class action lawsuit

here, where Plaintiffs allege that only “qualified” African American applicants are implicated
and there is no evidence that “qualified” African American applicants for skilled and technical
positions are convicted of crimes at the same rate as the general population.
                                                 5
           Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 11 of 15




alleging violations of same. Long v. SEPTA, 903 F.3d 312, 325 (3rd Cir. 2018), cited in NTT

DATA’s moving papers, is exactly on point, and holds that applicants are not concretely harmed

by an employer’s failure to provide them with a statement of their FCRA rights.6 Simply put,

Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016) and Long v. SEPTA are dispositive. Plaintiffs’

NY FCRA claim should be dismissed because Plaintiffs do not have standing to sue individually

or on behalf of the class they purport to represent.

III.      MANDALA RECEIVED A COPY OF ARTICLE 23-A.

          Plaintiffs’ NY FCRA claim should also be dismissed because Mandala received a copy of

Article 23-A. See Dkt 9-3 at 13-14. Plaintiffs have no substantive response:

      Plaintiffs do not deny that Mandala executed a background check form where he
       acknowledged receipt of Article 23-A, and do not dispute the authenticity of the background
       check form attached to the Price Declaration7; and

      Plaintiffs offer no meaningful distinction or refutation of Hall v. Kodak Ret. Income Plan,
       07-Civ.-6196, 2009 WL 778102, *8 (W.D.N.Y. Mar. 20, 2009), which holds that an
       employee’s acknowledgment that he received a document is evidence he received it.

          Instead, Plaintiffs assert that the Court should not consider the authorization at this time

because it is purportedly “extrinsic” to the Complaint. This is wrong as a matter of law. For

motion to dismiss purposes, the Complaint is deemed to include “any statements or documents

incorporated in it by reference….” Heskiaoff v. Sling Media, Inc., 719 Fed. Appx. 28, 31 (2d

Cir. Nov. 22, 2017); Underwood v. Roswell Park Cancer Inst., No. 15-cv-684, 2017 U.S. Dist.

6
  Strubel v. Comenity Bank, 842 F. 3d 181 (2d Cir. 2016), a case relied upon by Plaintiffs,
supports NTT DATA. In Strubel, the Second Circuit held that under the Truth in Lending Act, a
plaintiff had standing to sue when she was not informed about the plaintiff’s obligations under
the law, because failure to do so could cause the plaintiff “unwittingly to lose the very credit
rights that the law affords him.” Id. at 190. Here, Article 23-A does not impose any obligations
on the Plaintiffs. Further, in Strubel, the Second Circuit held that the plaintiff did not have
standing to sue for failure to inform plaintiff of defendant’s obligation to provide notice, because
this was a “bare procedural violation.”
7
  Although Plaintiffs claim there is a “factual dispute” for “the reasons discussed,” Plaintiffs do
not identify a single factual dispute relating to the background check authorization or Mandala’s
written acknowledgment that he received a copy of Article 23-A.
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        Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 12 of 15




LEXIS 5689, *25-27 (W.D.N.Y. Jan. 13, 2017) (documents referenced in Amended Complaint

were deemed incorporated). In Velarde v. GW GJ, Inc., No. 14-cv-695S, 2016 U.S. Dist. LEXIS

159692 (W.D.N.Y. Nov. 16, 2016), the Court held that where the complaint specifically cited a

document, that document was incorporated by reference and properly considered. Id. at *10.

The Court further held that where the plaintiff signs an acknowledgment of receipt of a

document, the Court may consider the document referenced in the acknowledgment as well. Id.

       Here, the authorization is cited in the Complaint: “Mr. Mandala authorized a background

check pursuant to NTT’s policy…”. Compl., ¶ 44. Plaintiffs admit as much, and do not dispute

that Mandala signed the authorization. Pl. Opp. at 17-18. Accordingly, the authorization was

incorporated by reference into the Complaint and is properly before the Court.

       In any event, “[e]ven where a document is not incorporated by reference, the court may

nevertheless consider it where the complaint ‘relies heavily upon its terms and effect,’ which

renders the document ‘integral’ to the complaint.” Underwood, 2017 U.S. Dist. LEXIS 5689,

*25-26 (internal citations omitted). Plaintiff’s authorization is integral to Plaintiffs’ NY FCRA

claim. Indeed, Plaintiffs’ entire NY FCRA claim is premised on a violation of N.Y. Gen. Bus.

Law § 380-g(d), which provides that “the person… requesting [a consumer report] shall provide

the subject of such report a printed or electronic copy of article [23-A] of the correction law.”

Thus, Plaintiffs’ NY FCRA claim is based, entirely, on what disclosure was made to Mandala

when NTT DATA requested a consumer report. It is hard to imagine a document any more

integral to the Complaint than the disclosures made to, and acknowledgment signed by,

Mandala, at that time.8 Because the background authorization is properly considered by the




8
 Even a case cited by Plaintiffs, Williams v. Compassionate Care Hospice, 2016 WL 4149987,
*n. 2, held that the Court may consider a letter not explicitly attached to, or referred to in, the
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          Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 13 of 15




Court on a motion to dismiss and is sufficient evidence Mandala received Article 23-A,

Plaintiffs’ NY FCRA claim should be dismissed.

IV.      THE CLASS CLAIMS SHOULD BE STRIKEN.

         Maddison v. Comfort Sys. USA (Syracuse), No. 5:17-CV-0359, 2018 U.S. Dist. LEXIS

16090 (N.D.N.Y. Feb. 1, 2018) and Roach v. T.L. Cannon Corp., No. 3:10-cv-0591, 2015 U.S.

Dist. LEXIS 177286 (N.D.N.Y. Sept. 4, 2015) directly support that Mandala does not have

standing to represent any class member who applied for employment prior to Mandala’s

application. In response, Plaintiffs offer only the unsupported retort that these cases were

“wrongly decided.” Pl. Opp. at 21. Plaintiffs cite inapposite case law where the defendant never

challenged the named plaintiff’s standing to represent the absent class members from irrelevant

time periods; and where the Court never addressed this issue.          Id. at 19-20.    This is not

“authority” refuting the well-reasoned Maddison and Roach decisions.

         Plaintiffs also argue that Defendant “prematurely” attacks their class claims.         As

Plaintiffs admit, however, Defendant may attack such claims based on their facial insufficiency.

Id. at 6. And, Plaintiffs offer no substantive response to Defendant’s facial challenges:

     Numerosity: Plaintiffs did not plead that over 40 African American applicants were refused
      employment based on criminal history. Plaintiffs concede they alleged only two applicants
      were refused employment. Id. at 22. This is not enough to satisfy numerosity.

     Commonality/Typicality/Adequacy of Representation: Plaintiffs admit that they did not plead
      that they have felony convictions. Id. at n. 17. Therefore, from the face of the Complaint,
      Plaintiffs do not allege claims common or typical of the class they purport to represent.
      Plaintiffs also concede they did not limit the NY FCRA class to individuals with consumer
      reports containing “criminal conviction information” – thereby creating an inherent conflict
      within the class as is evident from the face of the Complaint. Id. at 23-24.

For these reasons, Plaintiffs’ class allegations should be stricken.



Complaint where the letter set forth the terms of employment, including the criminal
background check and driving record review, which formed the basis of the action.
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        Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 14 of 15




V.     THE CRIMINAL HISTORY DISCRIMINATION CLAIMS ARE TIME BARRED.

       Plaintiffs claim that their N.Y. Executive Law § 296(15) (“NYHRL”) claims should date

back to June 2, 2014 (and not August 15, 2015, three years prior to the filing of the Complaint),

because Plaintiff Mandala tolled those class members’ statutes of limitations by filing his charge

with the EEOC on June 2, 2017. In the EEOC Charge, Mandala does not (because he cannot

under Title VII) claim criminal conviction discrimination. Of course, claims never filed with the

EEOC cannot be tolled by an unrelated Charge.

       Nor are the NYHRL claims “reasonably related” to the EEOC charge. To be “reasonably

related,” the “conduct complained of would fall within the scope of the EEOC investigation

which can reasonably be expected to grow out of the charge of discrimination.”9 Brown, 163

F.3d at 712. Here, Mandala’s criminal conviction discrimination allegation cannot fall within the

scope of the EEOC’s investigation, because having a criminal record is not a protected

characteristic under federal law.    42 U.S.C. § 2000e-2(k)(1)(A)(i); Washington, 2013 WL

6061988, *2 (“Title VII does not prohibit discrimination on the basis of a criminal record”);

Tyree, 2018 U.S. Dist. LEXIS 4063, *7 (same). Plaintiffs’ cases are inapposite, because none

address the facts present here, where the plaintiff never asserted criminal record discrimination in

the charge, and where the EEOC would have no basis to investigate same. For these reasons,

equitable tolling is inapplicable and claims prior to August 15, 2015 are time-barred.

VI.    PLAINTIFFS’ REQUEST FOR CERTAIN DAMAGES SHOULD BE DISMISSED.

       Finally, Plaintiffs do not contest that they are not entitled to compensatory and punitive

9
  Plaintiffs also claim that their NYHRL claims are tolled because complaints filed with the
EEOC are deemed to be cross-filed with the Division of Human Rights. Pl. Mem. 24. Even
Plaintiffs’ own case recognizes that district “courts in this circuit are split on this issue.”
Kennedy v. Fed. Express Corp., 2016 WL 5415774 (N.D.N.Y. Sept. 28, 2016). Regardless, as
set forth above, Plaintiffs’ NYHRL criminal conviction discrimination claims are not reasonably
related to the EEOC charge, so even if tolling did apply to the claims within the scope of the
EEOC charge, it does not apply to Plaintiffs’ unrelated criminal conviction discrimination claim.
                                                 9
        Case 6:18-cv-06591-CJS Document 13 Filed 12/27/18 Page 15 of 15




damages for Title VII disparate impact, or punitive damages for violations of the NYHRL. Pl.

Opp. at 25. Instead, they assert that “dismissal of particular types of damages is inappropriate at

the pleading stage.” Id. This position has no merit. Numerous courts (including this one) have

dismissed improper damages requests under Fed. R. Civ. P. 12(b)(6). See Constellation Brands,

Inc. v. Keste, LLC, No. 14-cv-6272, 2014 U.S. Dist. LEXIS 159753, *10 (W.D.N.Y. Nov. 13,

2014) (Siragusa, J.) (“disagree[ing] with Plaintiff’s argument that damages claims should not be

dismissed at the pleading stage,” and granting defendant’s motion for dismissal of certain

damages claims); Globecon Group, LLC v. Hartford Fire Ins. Co., 434 F.3d 165, 167, 176-77

(2d Cir. 2006) (affirming Rule 12(b)(6) dismissal of party’s claims for consequential damages);

Underwood, 2017 U.S. Dist. LEXIS 5689, *60-62 (granting motion to dismiss request for

punitive damages: “the federal statutes under which [plaintiff] seeks relief, namely Title VII…

do not permit the award of punitive damages… Therefore, [plaintiff] is precluded from

recovering punitive damages against [defendant]”). Thus, Plaintiffs’ request for compensatory

and punitive damages in Claim I, and punitive damages in Claim II, should be dismissed.10


       Date: December 27, 2018                   /s/ Jessica F. Pizzutelli
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   At the time the opposition brief was filed, December 12, 2018, it does not appear that the
NAACP Legal Defense & Educational Fund, Inc. (“NAACP”) had properly filed their Notice of
Appearance. In fact, according to Docket No.12, the Notice of Appearance was not filed until
December 18, 2018, contrary to the requirements of the local rules (Local Rule 83.2). It appears
that the addition of their representation to the brief was solely to support public comments made
to the press in an effort to bolster their claims or garnish media attention for their purported class.
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